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                                                                                                                                Zoning and Land Use

                                                                                                                                Tax Lots

                                                                                                                                Zoning Districts

                                                                                                                                 Commercial Districts

                                                                                                                                 Manufacturing Districts

                                                                                                                                 Residence Districts

                                                                                                                                 Parks

                                                                                                                                 Battery Park City

                                                                                                                                Commercial Overlays

                                                                                                                                 C1-1 through C1-5

                                                                                                                                 C2-1 through C2-5



                                                                                                                                Basemaps

                                                                                                                                Subways

                                                                                                                                Building Footprints




  100 ft




15 CENTRAL PARK WEST, 10023                                                                Add Another Tax Lot for Comparison
Manhattan (Borough 1) | Block 1114 | Lot 7503
                                                                                     TAX LOT | BBL 1011147503




Zoning Districts:          C4-7       L



INTERSECTING MAP LAYERS           :         Owner                    Show Owner
None found                                  Land Use                 Mixed Residential & Commercial Buildings
                                            Lot Area                 57,899 sq ft
ZONING DETAILS:                             Lot Frontage             232.31 ft
  Digital Tax Map                           Lot Depth                346.64 ft
  Zoning Map: 8c (PDF)                      Year Built               2005
  Historical Zoning Maps (PDF)              Building Class           Condominiums - Mixed Residential & Commercial
                                                                     Building (Mixed Residential & Commercial) ( RM )
                                            Number of Buildings      2
                                            Number of Floors         37
                                            Gross Floor Area         695,701 sq ft
                                            Total # of Units         231
                                            Residential Units        229
                                            Condominium Number       1653
                                            Building Info                 BISWEB
                                            Property Records              View ACRIS
                                            Housing Info               View HPD's Building, Registration & Violation
                                                                     Records
                                            Community District            Manhattan Community District 7
                                            City Council District         Council District 6
                                            School District          03
                                            Police Precinct          20
                                            Fire Company             E040
                                            Sanitation Borough     1
                                              Powered by ZoLa | zola.planning.nyc.gov | NYC Department of City Planning
                                            Sanitation District    07
                                                                                                                                                           Privacy - Terms
                                            Sanitation Subsection    1A
